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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

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                                   7     PATRICK CALHOUN, et al.,                           Case No. 20-cv-05146-YGR (SVK)
                                   8                    Plaintiffs,                         ORDER RE DISCOVERY DISPUTES
                                                                                            RE RFP NO. 5 AND RULE 30(B)(6)
                                   9             v.                                         DEPOSITION
                                  10     GOOGLE LLC,                                        Re: Dkt. Nos. 678, 680, 697, 699
                                  11                    Defendant.

                                  12          This Order addresses the disputes identified above and, to the extent applicable, amends
Northern District of California
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                                  13   this Court’s previous order regarding RFP No. 5. Dkt. 684.
                                  14   Dispute re RFP No. 5
                                  15          Upon further review of the long-standing record before it regarding the production of
                                  16   Named Plaintiffs’ data, having made an inquiry of the Special Master, and in the interest of
                                  17   judicial economy, the Court finds that it can rule on this dispute directly without the need for
                                  18   further briefing as previously contemplated in Dkt. 684.
                                  19          Accordingly, the Court ORDERS as follows:
                                  20      •   For any Named Plaintiff data for which Google has not yet provided notice to third party
                                  21          publishers, Google is to provide that notice no later than June 15, 2021;
                                  22      •   All Named Plaintiff data currently being withheld by Google, regardless of third-party
                                  23          notification status, must be produced no later than June 30, 2022.
                                  24   Dispute re Rule 30(b)(6) Deposition
                                  25          The Court has reviewed the information submitted by the Parties at the Court’s request
                                  26   (Dkt. Nos. 697, 698-1). One critical component of the Court’s request is missing from Plaintiffs’
                                  27   submission: the specific deposition questions that Plaintiffs provided to Google four days in
                                  28   advance of the deposition to which Google objected as “out of scope.” (In Dkt. 698-1, Plaintiffs
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                                   1   do identify three areas of questioning during the course of the deposition to which Google

                                   2   objected. Dkt. 698-1 at 2:9; 2:17; 2:18.) Google stands on its limitation on the scope of the

                                   3   deposition, specific P&L statements, and argues that the unspecified disputed questions were

                                   4   outside the scope of the P&L statements. Dkt. 697. Google may make additional arguments in its

                                   5   extensive footnotes, which the Court does not consider in light of its express one-page limitation

                                   6   for this position statement. Id. Finally, the Court notes the relief Plaintiffs seek is that “Google be

                                   7   compelled to provide written responses to the items identified in advance (see Ex. B), including

                                   8   supporting documentation, calculations and data where appropriate.” Unfortunately, and as noted

                                   9   above, Exhibit B is not the requested list of disputed questions but merely a recitation of the

                                  10   30(b)(6) topic for which Ms. Lewinski was designated and which Google sought to limit to P&L

                                  11   statements. As a result, Plaintiffs are asking the Court to compel written responses to a general

                                  12   topic, along with unspecified “documentation, calculations and data.” The Court finds the
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 United States District Court




                                  13   requested remedy is not in proportion to the dispute that was framed for the Court: a handful of

                                  14   specific, disputed questions to which Plaintiffs believe they were entitled to responses. Dkt. 677-

                                  15   2. Accordingly, Plaintiff’s request for further information arising out of the 30(b)(6) deposition of

                                  16   Ms. Lewinsky is DENIED.

                                  17          SO ORDERED.

                                  18   Dated: June 13, 2022

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                                                                                                     SUSAN VAN KEULEN
                                  21                                                                 United States Magistrate Judge
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